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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA

C.D.A., minor child, and Mr. A., his father;
and E.A.Q.A., minor child, and Mr. Q., his
father,
                                                      Civil Action No. 21-469
                                    Plaintiffs,

                       v.

United States of America,

                                  Defendant.

     JOINT STIPULATED MOTION TO HOLD CASE IN ABEYANCE

      The parties jointly move the Court for an order holding this action in

abeyance for an additional period of sixty (60) days. In support of this motion, the

parties respectfully state the following:

1.    On August 31, 2021, the parties jointly executed a stipulation to hold the

action in abeyance for sixty (60) days. (Doc. No. 19.)

2.    On September 2, 2021, after a telephone conference with counsel, the Court

approved that joint stipulation, holding the case in abeyance through November 1,

2021. (Doc. No. 21.)

3.    The United States, along with a group of counsel who are coordinating

negotiations on behalf of plaintiffs and claimants, are engaged in a nationwide

effort to settle district court cases and pending administrative tort claims arising
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from family separations at the U.S./Mexico border that occurred during the prior

administration. While significant progress has been made, due to the scale and

complexity of the effort, additional time is needed to achieve a global resolution of

these matters.

4.    In order to facilitate continued progress, the parties respectfully move the

Court for an order holding this action, including all proceedings and case

deadlines, in abeyance for an additional period of sixty (60) days.

5.    Counsel for Plaintiffs and the United States have conferred regarding this

request and agreed to jointly move the Court to hold this action in abeyance. A

proposed Order is submitted herewith.


Dated: October 29, 2021                       Respectfully submitted,


/s/ Veronica Finkelstein                      /s/ Karen L. Hoffmann
VERONICA J. FINKELSTEIN                       Karen L. Hoffmann
Assistant United States Attorney              SYRENA LAW
                                              P.O. Box 15894
Counsel for the United States of              Philadelphia, PA 19103
America
                                              Bridget Cambria
                                              ALDEA – THE PEOPLE’S JUSTICE
                                              CENTER
                                              532 Walnut Street
                                              Reading, PA 19601

                                              Counsel for Plaintiffs




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                         CERTIFICATE OF SERVICE

      I, Karen Hoffmann, certify that on October 29, 2021, I served a copy of the

Joint Stipulated Motion to Hold Case in Abeyance on all parties by CM/ECF.


Date: October 29, 2021                      /s/ Karen L. Hoffmann
                                            Karen L. Hoffmann
                                            SYRENA LAW
                                            P.O. Box 15894
                                            Philadelphia, PA 19103
                                            412-916-4509
                                            karen@syrenalaw.com

                                            Counsel for Plaintiffs




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